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                        Attorneys for Court-appointed Receiver
                      8 KRISTAL. FREITAG
                      9                              UNITED STATES DISTRICT COURT


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                     10                            CENTRAL DISTRICT OF CALIFORNIA
                     11                                      WESTERN DIVISION                  ·                    ~
                     12     KRISTAL. FREITAG, Court-A.'lppointed               }JeN<4   Q7 5 1 8 -)JU
                            Permanent Receiver for World Capital                                                    ·
                     13     Market Inc.; WCM777 Inc.; WCM777           COMPLAINT FOR FRAUDULENT .
                            Ltd. d/b/a WCM777 Enterprises, Inc.;       TRANSFER, UNJUST ENRICHMENT,
                     14     Kingdom Capital Market, LLC; Manna AND CONSTRUCTIVE TRUST
                            Holding Group, LLC; Manna Source
                     15     Internat10nal Inc.; WCM Resources,
                            Inc.; ToPaciflc Inc.; To Pacific Inc.; and
                     16     their subsidiaries and affiliates ,
                     17                     Plaintiff,
                     18               v.
                     19 GOVERNMENTAL IMPACT, INC.;
                        JAMES DANTONA; ZAYDA ABERIN;
                     20 and ZHB INTERNATIONAL CORP.,
                     21                     Defendants.
                     22
                     23
                     24               Plaintiff Krista L. Freitag (the "Receiver"), the Court-appointed permanent
                     25 receiver for World Capital Market Inc.; WCM777 Inc.; WCM777 Ltd. d/b/a
                     26 WCM777 Enterprises, Inc.; Kingdom Capital Market, LLC; Manna Holding Group,
                     27 LLC; Manna Source International, Inc.; WCM Resources, Inc.; ToPacific Inc.; To
                     28
       LAW OFFICES
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                                           COMPLAINT FOR FRAUDULENT TRANSFER, UNJUST ENRICHMENT, AND
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                      1 Pacific Inc.; and their subsidiaries and affiliates (the "Receivership Entities"),
                      2 hereby brings the following Complaint against the above-captioned Defendants and
                      3 alleges, on behalf of the Receivership Entities, as follows:
                      4 I.            JURISDICTION AND VENUE.
                      5               1.   This Court has jurisdiction over this matter under 28 U.S.C. §§ 1345
                      6 and 1367(a), and the doctrines of ancillary and supplemental jurisdiction, in that this
                      7 action arises from a common nucleus of operative facts as, and is substantially
                      8 related to the original claims in, the Securities and Exchange Commission (the
                      9 "Commission") enforcement action styled as Securities and Exchange Commission
                     10 v. World Capital Market Inc., et al., U.S.D.C., C.D. Cal. Case No. 14-CV-2334-
                     11 JFW-MRW (the "SEC Action").
                     12               2.   This Court may exercise personal jurisdiction over the above-captioned
                     13 Defendants pursuant to Federal Rule of Civil Procedure 4(k)(l)(A).
                     14               3.   Venue in the Central District of California is proper under 28 U.S.C.
                     15 § 13 91 because this action is an ancillary proceeding to the SEC Action and because
                     16 the Receiver was appointed in this District pursuant to the Preliminary Injunction,
                     17 Appointment of a Permanent Receiver, and Related Orders entered by this Court on
                     18 April 10, 2014 (the "Preliminary Injunction"), and the Order Freezing Assets,
                     19 Requiring Accountings, Prohibiting the Destruction of Documents, Granting
                     20 Expedited Discovery, Repatriating Assets, and Appointing a Receiver Over Relief
                     21 Defendants ToPacific Inc., a Delaware Corporation and To Pacific Inc., a California
                     22 Corporation entered by this Court on May 21, 2014 (the "Freeze Order") (together
                     23 the "Appointment Orders").
                     24 II.           PARTIES.
                     25               4.   The Receiver is the duly appointed permanent receiver for the
                     26 Receivership Entities, and was appointed permanent receiver for the Receivership
                     27 Entities pursuant to the Appointment Orders. Among other things, the Appointment
                     28 Orders call for the Receiver to recover aµd marshal, for the benefit of creditors of
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                      1 and investors in the Receivership Entities, any and all assets which were owned,
                      2 leased, occupied, or otherwise controlled by the Receivership Entities or were
                      3 otherwise purchased with assets of the Receivership Entities. The Receiver holds
                      4 exclusive authority and control over the assets of the Receivership Entities,
                      5 including over the causes of action alleged herein, over which this Court has
                      6 ancillary and supplemental jurisdiction.
                      7               5.   On information and belief, James Dantona ("Dantona") is a citizen and
                      8 resident of the County of Ventura, California, and is the recipient of assets of the
                      9 Receivership Entities as described further herein.
                     10               6.   On information and belief, Governmental Impact, Inc. ("Gil") is a
                     11 California corporation located and has its principal place of business in Simi Valley,
                     12 California, and is the recipient of assets of the Receivership Entities as described
                     13 further herein. Gil is owned and operated by Dantona.
                     14               7.   On information and belief, Zayda Aberin ("Aberin") is a citizen and
                     15 resident of the County of Los Angeles, California, and is the recipient of assets of
                     16 the Receivership Entities as described further herein.
                     17               8.   On information and belief, ZHB International, Corp. ("ZHB") is a
                     18 California corporation located and has its principal place of business in Calabasas,
                     19 California, and is the recipient of assets of the Receivership Entities as described
                     20 further herein. ZHB is owned and operated by Aberin.
                     21 III.          FACTUAL ALLEGATIONS
                     22               A.   The Purported Business Of The Receivership Entities And The
                     23                    Commencement Of The SEC Action.
                     24               9.   As alleged by the Commission in the SEC Action, the Receivership
                     25 Entities, individually and collectively, raised money from investors based on
                     26 misrepresentations that the Receivership Entities were engaged in a profitable multi- ·
                     27 level marketing venture that sells packages of "cloud media" or cloud services under
                     28 the umbrella name for the scheme, "WCM777." Investors were promised returns of
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                       1 more than 100% on their investment in 100 days, and were also assigned "points"
                      2 for their investments which were characterized as convertible into equity through
                      3 initial public offerings of "high tech" companies the Receivership Entities were
                      4 purportedly incubating. Through the use of the points system, the Receivership
                      5 Entities facilitated a "secondary market" in the points awarded to investors, and an
                      6 estimated $890 million of the points have been traded on this market.
                      7               10.   In actuality, the Receivership Entities did not realize any appreciable
                      8 revenue other than from the sale of "packages" of cloud services to investors.
                      9 WCM777 is not profitable, and is a pyramid scheme. Investor funds were used to
                     10 make Ponzi payments of returns promised to earlier investors. Much of the
                     11 remaining funds derived from these investments were used to purchase real property
                     12 in the United States, play the stock market and to make other speculative
                     13 investments.
                     14               11.   On or about March 27, 2014, the Commission initiated the SEC Action
                     15 against the Receivership Entities, Ming Xu a/k/a Phil Ming Xu ("Xu"), a principal
                     16 of the Receivership Entities, and others, alleging violations of federal securities
                     17 laws. ToPacific Inc. and To Pacific Inc. were added as Relief Defendants to the
                     18 SEC Action on May 7, 2014. The Commission petitioned for the Receiver's
                     19 appointment, and on April 10, 2014 and May 21, 2014, this Court entered the
                     20 Appointment Orders appointing the Receiver as permanent receiver for the
                     21 Receivership Entities.
                     22               B.    The Receiver's Authority And Investigation Pursuant To Her
                     23                     Appointment.
                     24               12.   Pursuant to the terms of her appointment, the Receiver is vested with
                     25 exclusive authority and control over the assets of the Receivership Entities.
                     26 Specifically, Article XII of the Preliminary Injunction and Article VIII of the Freeze
                     27 Order vests the Receiver with the "full powers of an equity receiver, including, but
                     28
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                      1 not limited to .. .. full power to sue ... and take into possession all [receivership]
                      2 property." (emphasis added.)
                      3               13.   The Receiver's investigation to date supports and confirms the
                      4 Commissions allegations in the SEC Action, including that ToPacific, Inc.
                      5 ("ToPacific") was used to receive funds raised from investors in the scheme.
                      6 ToPacific did not generate any material revenue other than funds received from
                      7 investors.
                      8               c.    The Fraudulent Transfers of Funds To Gii From The Receivership
                      9                     Entities.
                    10                14.   In January and March 2014, ToPacific Inc. ("ToPacific") made
                    11 payments to GII in the aggregate amount of $750,000. The first check, in the
                    12 amount of $500,000, was dated January 30, 2014 and was deposited into GII's
                    13 account at JPMorgan Chase Bank, N.A. on or about January 31, 2014. The second
                    14 check, in the amount of $250,000 was dated March 1, 2014 and was similarly
                    15 deposited into the same bank account on or about March 4, 2014. These payments
                    16 were made in connection with a purported agreement dated January 30, 2014 for GII
                    17 to provide certain consulting and governmental advocacy services (the
                    18 "Agreement"). A true and correct copy of the Agreement is attached hereto as
                    19 Exhibit A.
                    20                15.   Other than meeting with Xu on two occasions, GII and Dantona
                    21 provided no consulting, governmental advocacy, or other services under the
                    22 Agreement.
                    23                D.    The Subsequent Transfer Of Funds To Dantona.
                    24                16.   Of the funds transferred to GII, approximately $266,500 was
                    25 subsequently transferred to Dantona or paid for his personal benefit through a series
                    26 of transfers and payments as follows:
                    27            Date                   Check No.           Payee               Amount
                    28            February 7, 2014       7169                Dantona             $75,000
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                      1           February 12, 2014      7171                Bamieh&Erickson $100,000
                      2           February 19, 2014      7172                Jenny Dantona       $1,000
                      3           March 9, 2014          7176                Jenny Dantona       $500
                      4           March 11, 2014         7191                Dantona             $20,000
                      5           April 6, 2014          7202                Dantona             $10,000
                      6           April 24, 2014         7205                Bamieh&Erickson $9,500
                      7           April 24, 2014         7206                Jenny Dantona       $500
                      8           April 28, 2014         7207                Dantona             $20,000
                      9           May 6, 2014            7208                Dantona             $302000
                     10                                                      Total:              $266,500
                     11               17.   Dantona did not receive the funds in good faith and did not provide any
                     12 reasonably equivalent value or consideration in exchange for the $266,500
                     13 transferred to him or paid for his benefit. As GII's principal, Dantona was fully
                     14 aware of the circumstances under which GII obtained the $750,000 from ToPacific
                     15 and Xu and that GII had provided no services to ToPacific or Xu.
                     16               E.    The Subsequent Transfer Of Funds To Aberin And ZHB.
                     17               18.   Of the $750,000 paid to GII, $325,000 was subsequently transferred
                     18 from GII's bank account to Aberin and her company ZHB as follows:
                     19           Date                   Check No.           Payee               Amount
                     20           February 4, 2014       7167                Aberin              $100,000
                     21           February 4, 2014       7168                ZHB                 $100,000
                     22           March 4, 2014          7174                ZHB                 $1252000
                     23                                                      Total:              $325,000
                     24               19.   Aberin introduced Xu to GII, attended the few meetings that took place
                     25 between Xu and GII, and therefore was fully aware of the circumstances under
                     26 which GII obtained the funds from ToPacific. Aberin and her company ZHB did
                     27 not receive the funds in good faith and did not provide any reasonably equivalent
                     28 value or consideration in exchange for the $325,000 transferred to them.
       LAW OFFICES
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                      1               20.   There is a sufficient unity of interest and ownership between Aberin
                      2 and ZHB such that the separate personalities of the two do not in reality exist. ZHB
                      3 is the alter ego of Aberin because its bank accounts have been comingled with
                      4 Aberin's personal finances and ZHB is sufficiently undercapitalized such that it is a
                      5 mere shell, conduit or instrumentality. Further, nearly all of the funds transferred to
                      6 ZHB by GII have been used to pay Aberin's personal loans and obligations,
                      7 including payments made for Aberin's personal mortgage in excess of $240,000.
                      8               21.   On information and belief, Aberin controls the finances of ZHB and
                      9 has consistently used ZHB funds for personal purposes as described above.
                     10               22.   It would be inequitable to recognize ZHB's corporate form separate and
                     11 apart from Aberin in issuing a judgment for disgorgement. Accordingly, to avoid
                     12 injustice, any judgment entered for disgorgement of the $325,000 transferred to
                     13 Aberin and ZHB should be entered against them jointly and severally.
                     14                            COUNT I-FRAUDULENT TRANSFER
                     15                                          (As Against Gil)
                     16               23.   The Receiver incorporates herein each and every allegation contained
                     17 in Paragraphs 1 through 22, inclusive, hereinabove set forth.
                     18               24.   Over the course of its pre-receivership operations, ToPacific paid
                     19 $750,000 in the aggregate to Gii with the intent to hinder, delay, or defraud
                     20 creditors. Such payments were made from the proceeds of a Ponzi scheme which
                     21 were generated from investors in the scheme.
                     22               25.   Gii did not accept the funds in good faith and the Receivership Entities
                     23 received no reasonably equivalent value or consideration, directly or indirectly, in
                     24 exchange.
                     25               26.   At the time ToPacific paid GII the subject $750,000, ToPacific was
                     26 engaged or about to engage in a business or transaction for which its remaining
                     27 assets were unreasonably small in relation to the business or transaction.
                     28
       LAW OFFICES
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                      1               27.   ToPacific was insolvent, or became insolvent shortly after the subject
                      2 $750,000 payments were made to Dantona and GIL
                      3               28.   ToPacific intended to incur, or believed or reasonably should have
                      4 believed that it would incur, debts beyond its ability to pay as they became due.
                      5               29.   As a consequence of the above, the full amount of the $750,000
                      6 transferred to GII is an actual and constructively :fraudulent transfer under
                      7 Calfomia's Uniform Fraudulent Transfer Act ("CUFTA"), Cal. Civ. Code§ 3439, et
                      8 seq., and is subject to immediate disgorgement to the Receiver.
                      9                             COUNT II - UNJUST ENRICHMENT
                     10                                         (As Against Gil)
                     11               30.   The Receiver incorporates herein each and every allegation contained
                     12 in Paragraphs 1through29, inclusive, hereinabove set forth.
                     13               31.   As described in more detail above, ToPacific paid $750,000 to GII in
                                                    ,

                     14 connection with the Agreement. Such payments were made from the proceeds of a
                     15 Ponzi scheme which were generated from investors in the scheme.
                     16               32.   GII did not accept the funds in good faith and the Receivership Entities
                     17 received no equivalent value or consideration in exchange therefore.
                     18               33.   GII has thus been unjustly enriched in the amount of $750,000, which
                     19 amount is subject to immediate disgorgement to the Receiver.
                     20                            COUNT III- CONSTRUCTIVE TRUST
                     21                                          (as against Gil)
                     22               34.   The Receiver incorporates herein each and every allegation contained
                     23 in Paragraphs 1through33, inclusive, hereinabove set forth.
                     24               35.   GII has been unjustly enriched in the amount of $750,000 as a result of
                     25 its receipt of payments from ToPacific. Such payments were made from the
                     26 proceeds of a Ponzi scheme which were generated from investors in the scheme.
                     27               36.   Because GII has been unjustly enriched in the amount of $750,000, it
                     28 holds that amount in constructive trust for the Receivership Entities.
       LAW OFFICES
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                      1               37.   The Receiver is therefore entitled to a judgment of $750,000 against
                      2 GIL
                      3                           COUNT IV - FRAUDULENT TRANSFER
                      4                                       (As Against Dantona)
                      5               38.   The Receiver incorporates herein each and every allegation contained
                      6 in Paragraphs 1 through 3 7, inclusive, hereinabove set forth.
                      7               39.   Of the $750,000 transferred to GII, the amount of $266,500 was
                      8 subsequently transferred to Dantona or for his benefit. Such transfers and payments
                      9 were made with funds transferred to GII by ToPacific, which funds were derived
                     10 from the proceeds of a Ponzi scheme generated from investors in the scheme.
                     11               40.   Dantona did not accept the funds in good faith and provided no
                     12 reasonably equivalent value or consideration, directly or indirectly, in exchange.
                     13               41.   At the time ToPacific paid GII the subject $750,000, ToPacific was
                     14 engaged or about to engage in a business or transaction for which its remaining
                     15 assets were unreasonably small in relation to the business or transaction.
                     16               42.   ToPacific was insolvent, or became insolvent shortly after the subject
                     17 $750,000 payments were made to GIL
                     18               43.   ToPacific intended to incur, or believed or reasonably should have
                     19 believed that it would incur, debts beyond its ability to pay as they became due.
                     20               44.   As a consequence of the above, the amount of$266,500 paid to
                     21 Dantona or for his benefit is an actual and constructively ·fraudulent transfer under
                     22 the CUFTA, and is thus subject to immediate disgorgement to the Receiver.
                     23                             COUNT V - UNJUST ENRICHMENT
                     24                                       (As Against Dantona)
                     25               45.   The Receiver incorporates herein each and every allegation contained
                     26 in Paragraphs 1 through 44, inclusive, hereinabove set forth.
                     27               46.   Dantona is the recipient or beneficiary of subsequent transfers and
                     28 payments made by GIL Such transfers and payments were made with funds
       LAW OFFICES
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                                            COMPLAINT FOR FRAUDULENT TRANSFER, UNJUST ENRICHMENT, AND
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                       1 transferred to GII by ToPacific, which was derived from the proceeds of a Ponzi-
                       2 like scheme generated from investors in the scheme.
                       3               47.   Dantona did not accept the funds in good faith and provided no
                       4 reasonably equivalent value or consideration, directly or indirectly, in exchange.
                       5               48.   Dantona has thus been unjustly enriched in the amount of $266,000,
                       6 which amount is subject to immediate disgorgement to the Receiver.
                       7                            COUNT VI - CONSTRUCTIVE TRUST
                       8                                       (as against Dantona)
                       9               49.   The Receiver incorporates herein each and every allegation contained
                      10 in Paragraphs 1 through 48, inclusive, hereinabove set forth.
                      11               50.   Dantona is the recipient or beneficiary of subsequent transfers and
                      12 payments made by GIL Such transfers and payments were made with funds
                      13 transferred to GII by ToPacific, which was derived from the proceeds of a Ponzi-
                      14 like scheme generated from investors in the scheme.
                      15               51.   Because Dantona has been unjustly enriched in the amount of
                      16 $266,500, he holds that amount in constructive trust for the Receivership Entities.
                      17               52.   The Receiver is therefore entitled to a judgment of $266,500 against
                      18 Dantona.
                      19                           COUNT VII - FRAUDULENT TRANSFER
                      20                                  (As Against Aberin and ZHB)
                      21               53.   The Receiver incorporates herein each and every allegation contained
                      22 in Paragraphs 1through52, inclusive, hereinabove set forth.
                      23               54.   Of the $750,000 transferred to GII, the amount of$325,000 was
                      24 subsequently transferred to Aberin and ZHB. Such transfers were made with funds
                      25 transferred to GII by ToPacific, which funds was derived from the proceeds of a
                      26 Ponzi-like scheme generated from investors in the scheme.
                      27               55.   Aberin and ZHB did not accept the funds in good faith and provided no
                      28 reasonably equivalent value or consideration, directly or indirectly, in exchange.
       I.AW OFFICES
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                                                                CONSTRUCTIVE TRUST
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                      1               56.   At the time ToPacific paid Gii the subject $750,000, ToPacific was
                      2 engaged or about to engage in a business or transaction for which its remaining
                      3 assets were unreasonably small in relation to the business or transaction.
                      4               57.   ToPacific was msolvent, or became insolvent shortly after the subject
                      5 $750,000 payments were made to GIL
                      6               58.   ToPacific intended to incur, or believed or reasonably should have
                      7 believed that it would incur, debts beyond its ability to pay as they became due.
                      8               59.   As a consequence of the above, the amount of$325,000 subsequently
                      9 transferred to Aberin and ZHB is an actual and constructively fraudulent transfer
                     10 under the CUFTA, and is thus subject to immediate disgorgement to the Receiver.
                     11               60.   There is a sufficient unity of interest and ownership between Aberin
                     12 and ZHB such that the separate personalities of the two do not in reality exist. As
                     13 described above, ZHB is the mere alter ego of Aberin and it would thus be
                     14 inequitable to recognize ZHB's corporate form separate and apart from Aberin in
                     15 issuing a judgment for disgorgement. Accordingly, to avoid injustice, judgment for
                     16 disgorgement in the amount of $325,000 should be entered against Aberin and ZHB
                     17 jointly and severally.
                     18                            COUNT VIII- UNJUST ENRICHMENT
                     19                                  (As Against Aberin and ZHB)
                     20               61.   The Receiver incorporates herein each and every allegation contained
                     21 in Paragraphs 1through60, inclusive, hereinabove set forth.
                     22               62.   Aberin and ZHB are the recipients of subsequent transfers made by
                     23 GIL Such transfers were made with funds transferred to GII by ToPacific, which
                     24 was derived from the proceeds of a Ponzi-like scheme generated from investors in
                     25 the scheme.
                     26               63.   Aberin and ZHB did not accept the funds in good faith and provided no
                     27 reasonably equivalent value or consideration, directly or indirectly, in exchange.
                     28
       LAW OFFICES
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                      1               64.   Aberin and ZHB have thus been unjustly enriched in the amount of
                      2 $266,000, which amount is subject to immediate disgorgement to the Receiver.
                      3                            COUNT IX - CONSTRUCTIVE TRUST
                      4                                   (as against Aberin and ZHB)
                      5               65.   The Receiver incorporates herein each and every allegation contained
                      6 in Paragraphs 1 through 64, inclusive, hereinabove set forth.
                      7               66.   Aberin and ZHB are the recipients of subsequent transfers made by
                      8 GIL Such transfers were made with funds transferred to GII by ToPacific, which
                      9 was derived from the proceeds of a Ponzi-like scheme generated from investors in
                     10 the scheme.
                     11               67.   Because Aberin and ZHB have been unjustly enriched in the amount of
                     12 $325,000, they hold that amount in constructive trust for the Receivership Entities.
                     13               68.   The Receiver is therefore entitled to a judgment of$325,000 against
                     14 Aberin and ZHB.
                     15
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                                                               CONSTRUCTIVE TRUST
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                      1                                     PRAYER FOR RELIEF
                      2               WHEREFORE, the Receiver prays for judgment against the Defendants as
                      3 follows:
                      4               On Count I: [Giil
                      5               (a)   For a judgment against GII, avoiding the transfer of the subject
                      6 $750,000; and
                      7               (b)   For an order directing GII to immediately pay $750,000, plus
                      8 prejudgment interest and costs, to the Receiver; and
                      9               (c)   For such other and further relief as the Court may deem proper.
                     10               On Count II: [Giil
                     11               (a)   For a judgment against GII in the amount of$750,000, plus
                     12 prejudgment interest and costs; and
                     13               (b)   For an order directing GII to immediately pay $750,000, plus
                     14 prejudgment interest and costs, to the Receiver; and
                     15               (c)   For such other and further relief as the Court may deem proper.
                     16               On Count IIl:[Gll]
                     17               (a)   For a judgment against GII in the amount of $750,000, plus
                     18 prejudgment interest and costs; and
                     19               (b)   For an order declaring GII to be holding $750,000, plus prejudgment
                     20 interest and costs, in constructive trust for the Receivership Entities; and
                     21               (c)   For such other and further relief as the Court may deem proper.
                     22               On Count IV: [Dantonal
                     23               (a)   For a judgment against Dantona, avoiding the subsequent transfers or
                     24 payments made for Dantona's benefit in the amount of $266,500; and
                     25               (b)   For an order directing Dantona to immediately pay $266,500, plus
                     26 prejudgment interest and costs, to the Receiver; and
                     27               (c)   For such other and further relief as the Court may deem proper.
                     28
       LAW OFFICES
Allen Matkins Leck Gamble                                             -13-
    Mallory & Natsis LLP
                            993806.03/LA
                                            COMPLAINT FOR FRAUDULENT TRANSFER, UNWST ENRICHMENT, AND
                                                               CONSTRUCTIVE TRUST
           Case 2:14-cv-07518-JFW-MRW Document 1 Filed 09/26/14 Page 14 of 26 Page ID #:20




                      1               On Count V: [Dantona]
                      2               (a)    For a judgment against Dantona in the amount of $266,500, plus
                      3 prejudgment interest and costs; and
                      4               (b)    For an order directing Dantona to immediately pay $266,500, plus
                      5 prejudgment interest and costs, to the Receiver; and
                      6               ( c)   For such other and further relief as the Court may deem proper.
                      7               On Count VI: [Dantona]
                      8               (a)    For a judgment against Dantona in the amount of $266,500, plus
                      9 prejudgment interest and costs; and
                     10               (b)    For an order declaring Dantona to be holding $266,500, plus
                     11 prejudgment interest and costs, in constructive trust for the Receivership Entities;
                     12 and
                     13               (c)    For such other and further relief as the Court may deem proper.
                     14               On Count VII: [Aberin and ZHBJ
                     15               (a)    For a judgment, jointly and severally, against Aberin and ZHB,
                     16 avoiding the transfers to them in the amount of $325,000; and
                     17               (b)    For an order directing Aberin and ZHB to immediately pay $325,000,
                     18 plus prejudgment interest and costs, to the Receiver; and
                     19               (c)    For such other and further relief as the Court may deem proper.
                     20               On Count VIII: [Aberin and ZHBJ
                     21               (a)    For a judgment, jointly and severally, against Aberin and ZHB in the
                     22 amount of $325,000, plus prejudgment interest and costs; and
                     23               (b)    For an order directing Aberin and ZHB to immediately pay $325,000,
                     24 plus prejudgment interest and costs, to the Receiver; and
                     25               (c)    For such other and further relief as the Court may deem proper.
                     26               On Count IX: [Aberin and ZHBJ
                     27               (a)    For a judgment, jointly and severally, against Aberin and ZHB in the
                     28 amount of$325,000, plus prejudgment interest and costs; and
       LAW OFFICES
Allen Matkins Leck Gamble                                               -14-
    Mallory & Natsis LLP
                            993806.03/LA
                                             COMPLAINT FOR FRAUDULENT TRANSFER, UNJUST ENRICHMENT, AND
                                                                CONSTRUCTIVE TRUST
          Case 2:14-cv-07518-JFW-MRW Document 1 Filed 09/26/14 Page 15 of 26 Page ID #:21




                       1              (b)   For an order declaring Aberin and ZHB to be holding $325,000, plus
                    · 2 prejudgment interest and costs, in constructive trust for the Receivership Entities;
                      3 and
                      4               (c)   For such other and further relief as the Court may deem proper.
                      5
                      6 Dated: September 26, 2014                       ALLEN MATKINS LECK GAMBLE
                                                                         MALLORY & NATSIS LLP
                      7                                                 DAVID R. ZARO
                                                                        TED FATES
                      8                                                 TIMC.HSU


                    10
                      9
                                                                        By:~~
                                                                         ~C.HSU
                                                                            Attorp.eys for Court-appointed
                    11                                                      Receiver
                                                                            KRISTAL. FREITAG
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      LAW OFFICES
Allen Matkins Leck Gamble                                              -15-
    Mallory & Natsis LLP
                            993806.03/LA
                                            COMPLAINT FOR FRAUDULENT TRANSFER, UNWST ENRICHMENT, AND
                                                               CONSTRUCTIVE TRUST
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                        EXHIBIT A
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                                                                        GOVERNMENTAL
                                                                              IMPACT


                       AGREEMENT BETWEEN DR. ~HIL MJNG XU AND
                               GOVERNMENTAL IMPACT,
                           A CALIFORNIA CORPORATION, FOR
                STATE ~ANO-FEDERAL GOVE.RNM.ENIALADJLQCACY....SERw;ES_

       1. This Agreement entered into this 30th, day of January·, 201.41 by and between DR.
          PHIL MING XU hereinafter called, "DPMX" and GOVERNMENTAL IMPACT, a
          Califm11ia Co1po1atior1, hereh1after called "Contracfor.»             ·
                                             RECITALS

         WHEREAS, DPMX is seeking to obtain professional consulting and governmental
  advocacy services to assist it in achieving success in dealing with the State and Federal
  Legislatures; and

        WHEREAS, Contractor will ernploy personnel who are specially trained, and/or
  possess certain skills, experience, education, contacts and competency required to
  advocate DPMX's interests with government officials in California and Washington DC,
  and

            WHEREAS, DPMX desires to engage Contractor ·in the performance of
  governmental advocacy and consulting services upon the terms and conditions herein
  provided:

  NOW, THEREFORE, the parties hereto do mutually agree as follows:

  1.        PROFESSIONAL SERVICES To    BE PERFORMED BY CONTRACTOR

             DPMX hereby agrees to engage Contractor, and Contractor agrees to provide
            professional consulting advice and governmental advocacy to DPMX as hereinafter
            set forth.

       2.       SCOPE OF    CONTRACTOR'S     PROFESSIONAL    S~RVICES   PROVIDED    UNDER    THE
                CONTRACT

            Contractor will perform services for DPMX in accordance with the terms, conditions
            and specifications set forth herein.

            The Contractor's Scope of Work under this contract includes the following;

            •   Help in locating and securing legislators and other leaders for DPMX by working
                closely and effectively with legislative leadership and staff to fashion a better
                understanding of government.

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        •   Assist DPMX to obtain effective access to key legislative leaders and appointed
            decision makers in California and Washington DC.

        •   Communicate, collaborate and coordinate DPMX's funding advocacy strategies
            designed to secure success.

        •   Identify, evaluate, prioritize and recommend to DPMX successful political
            strategies and effective public relations programs designed to understand State
            -c:mcr-rettera1-Government:-       ·    ··--H----------------··- ·          ··



        •   Keep DPMX informed on progress as well as key dates and other important
            information.


   3.       INDEPENDENT CONTRACTOR

        The parties agree that DPMX is interested only in the results obtained and that the
        Contractor shall perform as an independent contractor with sole control of the
        manner and means and methods of work which shall not be subject to the control or
        supervision by DPMX except as to res.ults of the work.

        No relationship of employer and employee is created by this contract. It is expressly
        understood and agreed by the parties that Contractors employees shall in no event
        be entitled to any benefits to which DPMX's employees are entitled, including but
        not limited to, overtime, sick leave, vacation pay, retirement benefits, social security,
        workers' compensation, disabiltty, unemployment insurance benefits, or employee
        benefits of any kind. ·

        It is further understood and agreed by the parties hereto that, except as provided in
        this contract, Contractor in the performance of its obligation hereunder, is ·subject to
        the control or direction of DPMX merely as to the result to be accomplished by the
        services hereunder agreed to be rendered and performed and not as to the means
        and methods for accomplishing the results.

        If, in the performance of this contract,· any third persons are employed by
        Contractor, such persons will be entirely and exclusively under direction,
        supervision and ·control of Contractor. All terms of employment of such third
        persons will be determined by Contractor, and approved by DPMX.


   4.       NoN~Ass1GNABILITY


        Contractor will not assign this Contract or any portion thereof, to a third party
        without the prior written consent of DPMX, and any attempted assignment without
        such prior written consent wm be null and void and wifl be cause, at DPMX's sole
        and absolute discretion, for immediate termination of this Contract.



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   5.      TERM

         This Contract will be in effect during the period beginning January 301h, 2014
         through January 29th 2015. At that point the contract will terminate with the option
         to renegotiate or be extended based on mutual agreement of both earties.

   6.      COMPENSATION AND ExPE'.NSES

         DPMX shall pay the Contractor for professional consulting and governmental
         advoeacy services performe<l in accordance vvith the terms of this Agreement in the
         amount of a $750,000.00 Flat Fee. $500,000.00 will be paid to the contractor
         upon signing of the contract and another $250 1000.00 due on April 301h. In addition
         the Contractor shall be paid by DPMX any and all expenses incurred within 30 days
         after Contractor invoice has been received by DPMX. Upon successful completion
         of project Contractor will be paid a success bonus of $250,000.00 within a period of
         60 days.



   7.      TERMINATION

         Either party may terminate this contract at any ti_me for any reason by providing
         30 days' advance written notice to Contractor. In the event of termination under this
         paragraph, DPMX shall not be entitled to any refund for any reason.



   8.    INVESTIGATION AND RESEARCH

         Contractor by investigation and research has acquired reasonable knowledge of all
         conditions affecting the work to be done and labor and material needed, and the
         execution of this Contract is to be based. upon such investigation and research, and
         not upon any representation ·made by DPMX or any of its officers, agents or
         employees, except as provided here·in.


    9.   ADDENDA

          DPMX may from time to time require changes in the scope of the services required ·
          hereunder.




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 10.         CONFIDENTIALITY

             Any reports, information, data, statistics, forms, procedures, systems, studies and
             any other communication or form of knowledge given to or prepared or assembled
             by Contractor under this Contract which DPMX requests in writing to be kept
             confidential, will not be made available to any individual or organization by
             Contractor without the prior written approval of the DPMX except as authorized by
            _la.w,_

 11.         NOTICES

             All notices required under this Contract will be made in writing and addressed or ·
             delivered as follows:

             TO DPMX:
                                       DR PHIL MING XU
                                      150 S. LOS ROBLES
                                      PASADENA, CA. 91101-2486




        ·   TO CONTRACTOR:           JAMES DANTONA, PRESIDENT
                                     GOVERNMENTAL IMPACT
                                     P.O BOX 1438
                                     SIMI VALLEY. CALIFORNlA 94062




             Either party may, by giving written notice In accordance with this paragraph, change
             the names or addresses of the persons of designated for receipt of future notices·.
             When addressed in accordance with this paragraph and deposited in the United
             States mail, postage prepaid, notices will be deemed given on the third day
             following such deposit in the United States mail. In all other instances, notices will
             be deemed given at the time of actual delivery.


  12.        MERGER CLAUSE

             This Contract supersedes any and all other contracts, either oral or written, between
             Contractor and DPMX, with respect to. the subject of this contract. This contract
             contains all of the covenants and contracts between the parties with respect to the
             services required hereunder. Contractor acknowledges that no representations,
             inducements, promises or contracts have been made by or on behalf of DPMX.


                                                                                  ~4         Page
                                                                                          000004
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         except those covenants and contracts embodied in this contract. No contract,
         statement1 or promise not contained in this contract will be valid or binding.

 13.     GOVERNING LAW

         The validity of this contract and any of its terms or provisions, as well as the rights
         and duties of the parties Linder this contract 1 win be construed pursuant to and in
         accordance with the laws of the designated State.

 14.     SEVERABILITY OF CONTRACT

         If any term of this contract is held by a court of competent jurisdiction to be void or
         unenfrn ceable, the 1ernainde1 of the contract terms will remain in full force and
         effect and will not be affected.

  15.    COMPLIANCEWITHLAWS

         Each party to this contract will comply with all applicable laws.


 DISCLAIMER OF GUARANTEE. Nothing in this Contract and nothing in Contractor's
      statements to Client will be construed as a promise or guarantee about the outcome
      of Client's matter. Contractor makes no such promises or guarantees. Contractor's
      comments about the outcome of Client's matter are expressions of opinion only.


 IN WITNESS WHEREOF the parties hereto have executed. this Contract.




                                                           ~Atvtei ;2 ~M4
 Printed Name                                              Printed Name



 Title
                                                         ~~
 Date                                                     Date




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                                                                                          Page
                                                                                    GIOOOOOS
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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                             for the
                                                  Central District of California


KRISTAL. FREITAG, Court-Appointed Permanent                     )
Receiver for World Capital Market Inc.; WCM777                  )
Inc.; WCM777 Ltd. d/b/a WCM777 Enterprises, Inc.;               )
Kingdom Capital Market, LLC; Manna Holding                      )
Group, LLC; Manna Source International, Inc.; WCM               )


                                                                !c vcy4ction'j'7 5 18 - SJo{!tr;~
Resources, Inc.; ToPacific Inc.; To Pacific Inc.; and
their subsidiaries and affiliates
                            Plaintiff(s)
                                 v.
                                                                )
GOVERNMENTAL IMP ACT, INC.; JAMES                               )
DANTONA; ZAYDA ABERIN; and ZHB                                  )
INTERNATIONAL CORP.                                             )
                           Defendant(s)

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address)
    GOVERNMENTAL IMPACT, INC. - 5775 East Los Angeles, Street, Suite 222, Simi Valley, CA 93063
     JAMES DANTONA - 5775 East Los Angeles Street, Suite 222, Simi Valley, CA 93063
    ZAYDA ABERIN - 5924 Normandy Drive, Calabasas, CA 91302
    ZHB INTERNATIONAL CORP - 5924 Normandy Drive, Calabasas, CA 91302


          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it)- or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3)-you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:
     David R. Zaro
     Ted Fates
     Tim C. Hsu
     ALLEN MATKINS LECK GAMBLE MALLORY & NATSIS LLP
     515 South Figueroa Street, 9th Floor
     Los Angeles, California 90071-3309
     Phone: (213) 622-5555
     Facsimile: (213) 620-8816
         If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                          CLERK OF COURT
                 SEP 2 6 2014
Date:                                                                                      A


                                                                                                       American LegalNet, Inc. ~
                                                                                                                           ¥H"
                                                                                                       www.FonnsWorkFlow.com
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AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.

                                                      PROOF OF SERVICE
                      (This section should not be.filed with the court unless required by Fed. R. Civ. P. 4 (1))

        This summons for (name of individual and title, if any) - - - - - - - - - - - - - - - - - - - - - - - -
was received by me on (date) _ _ _ _ _ _ _ _ _ _ __


          D I personally served the summons on the individual at (place) - - - - - - - - - - - - - - - - - -
          ________________________ on (da~) _ _ _ _ _ _ _ _ _ _;or

          D I left the summons at the individual's residence or usual place of abode with (name) - - - - - - - - - -
          - - - - - - - - - - - - - - - - - -' a person of suitable age and discretion who resides there,
          on (date)   --------~·
                                                   ,   and mailed a copy to the individual's last known address; or

          DI served the summons on (name of individual)
          designated by law to accept service of process on behalf of (name of organization) - - - - - - - - - - - - -
          ________________________ on (date) _ _ _ _ _ _ _ _ _;or

          D I returned the summons unexecuted because
          D Other (specifY):


          My fees are $      -----~
                                                   for travel and $ - - - - - - - for services, for a total of$ -
                                                                                                                0.00
                                                                                                                  -------

          I declare under penalty of perjury that this information is true.




                                                                                            Server 's signature



                                                                                          Printed name and title




                                                                                            Server's address


Additional information regarding attempted service, etc:




                                                                                                                   American LegalNet, Inc,   A
                                                                                                                   www FormsWorkFlow.com     ¥.:f
            Case 2:14-cv-07518-JFW-MRW Document 1 Filed 09/26/14 Page 24 of 26 Page ID #:30

                                                  UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
                                                                       CIVIL COVER SHEET
I. (a) PLAINTIFFS ( Check box if you are representing yourself                     0 )                             DEFENDANTS                 ( Check box if you are representing yourself 0           )
KRISTAL. FREITAG, Court-Appointed Permanent Receiver for World Capital                                            GOVERNMENTAL IMPACT, INC.; JAMES DANTONA; ZAYDA
Market Inc.; WCM777 Inc., WCM777 Ltd. d/b/a/ WCM777 Enterprises, Inc.;                                            ABERIN; and ZHB INTERNATIONAL CORP.
Kingdom Capital Market, LLC; Manna Holdng Group, LLC; Manna Source                                                 County of Residence of First Listed
International, Inc.; WCM Resources, Inc.; ToPacific Inc.; To Pacific Inc.; and                                                                                                Los Angeles
                                                                                                                   Defendant
their subsidiaries and affiliates
                                                                                                                   (IN U.S. PLAINTIFF CASES ONLY)
(b) County of Residence of First Listed Plaintiff                    _Lo""'s-'A,,.;.,n""g'---e_le_s_ _ _ __
                                                                                                                   Attorneys (Firm Name, Address and Telephone Numbe!') If you
(EXCEPT IN U.S. PLAINTIFF CASES)
                                                                                                                   are representing yourself, provide the same information.
(c) Attorneys (Firm Name, Address and Telephone Numbe!') If you are
representing yourself, provide the same infomiation.
David R. Zaro (SBN 124334); Ted Fates SBN 227809);
Tim C. Hsu (SBN 279208)      Phone: (213) 622-5555
ALLEN MATKINS LECK GAMBLE MALLORY & NATSIS LLP
515 South Figueroa Street, 9th Floor
Los Angeles, California 90071-3309
 II.   BASIS OF JURISDICTION (Place an                   X in one box only.)                    Ill. CITIZENSHIP OF PRINCIPAL PARTIES-For Diversity Cases Only
                                                                                                      (Place an X in one box for plaintiff and one for defendant)
                                                                                                                                   PTF       DEF                                                      DEF
 [;8J   1. U.S. Government              0    3. Federal Question (U.S.                                                                                 Incorporated or Principal Place
        Plaintiff                            Government Not a Party)
                                                                                                Citizen o!Thls State               0     1    0    1   of Business in this State                      04
                                                                                                Citizen of Another State                               incorporated and Principal Place
                                                                                                                                                       of Business in Another State            Os Os
 0      2. U.S. Government              0    4. Diversity (Indicate Citizenship                 Citizen or Subject of a
                                                                                                Foreign Country
                                                                                                                                                       Foreign Nation
                                                                                                                                                                                               06     06
        Defendant                            of Parties in Item Ill)

 IV. ORIGIN (Place an X in one box only.)                                                                                                                                6. Multi-
 [;8J    1. Original      0     2. Removed from         0    3. Remanded from               0      4. Reinstated or       0   S. Transferred from Another
                                                                                                                                                                   0        District
            Proceeding             State Court                  Appellate Court                       Reopened                   District (Specify)                      Litigation


 V. REQUESTED IN COMPLAINT: JURY DEMAND: 0                                          Yes     [;8J     No           (Check "Yes" only if demanded in complaint.)

 CLASS ACTION under F.R.Cv.P.                     23:    0     Yes     [;8J   No                           [;8J   MONEY DEMANDED IN COMPLAINT:                               $ 750,000.00
 VI. CAUSE OF ACTION (Cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)
     Securities and Exchange Commission Receiver action for Fraudulent Transfer, etc.
 VII. NATURE OF SUIT (Place an                 X in     one box only).
  .•. OTHER STATUTES                                          -REAL PROPERTY CONT.                           IMIVllGRATION               •. PRISONER PETITIONS                    PROPERTYRIGHTS •
 0      37S False Claims Act       0    11 O Insurance           O     240 Torts to Land            O 462 Naturalization                          Habeas Corpus:         0    820 Copyrights
                                                                                                            Application
 0      400 State                  0    120 Marine               O     245 Tort Product                                                0     463 Alien Detainee          0    830 Patent
        Reapportionment
                                   0                                   Liability                    O 46S Other                        O S10 Motions to Vacate           0
 0      41 o Antitrust
                                        130 Miller Act
                                                                 O    290 All Other Real               Immigration Actions
                                                                                                     > .                                 Sentence                             840 Trademark
 0      430 Banks and Banking      0
                                        140 Negotiable
                                        Instrument
                                                                       Pro e
                                                                           TORTS         .
                                                                                                           TORTS.          ·.·         O S30 General                            -- SOCIAi.SECURiTY         .

        4SO Commerce/ICC                                             PERSONAL INJURY
                                                                                                     PERSON-!\L PROPERTY
                                                                                                                                       O S3S Death Penalty               0    861 HIA (139Sff)
 D      Rates/Etc.
                                        1SO Recovery of
                                        Overpayment &                                               [;8J    370 Other Fraud
                                                                                                                                                   .. Other: .           0    862 Black Lung (923)
                                   0    Enforcement of           0    310Airplane
                                                                                                    0       371 Truth in Lending
 0      460 Deportation
                                        Judgment                 O 31SAirplane                                                         0     S40 Mandamus/Other          0    863 DIWC/DIWN (405 (g))
                                                                                                            380 Other Personal
 D      470 Racketeer Influ-
                                   0                               Product Liability                0       Property Damage            0     SSO Civil Rights            0    864 SSID Title XVI
        enced & Corrupt Org.            1S1 Medicare Act
                                                                 0 320 Assault, Libel &                                                                                  0
                                        1S2 Recovery of            Slander
                                                                                                    0       38S Property Damage        O SSS Prison Condition                 86S RSI (405 (g))
 0      480 Consumer Credit
                                   O Defaulted Student           O 330 Fed. Employers'                      Product Liability
                                                                                                                                       O S60 Civil Detainee                    - FEDERAlTAXSUJTS
 0      .490 Cable/Sat lV               Loan (Exel. Vet.)          Liability
                                                                 O 340 Marine                                SANKRUPTCY-.
                                                                                                                                         Conditions of
                                                                                                                                         Confinement
                                                                                                                                                                         0     870 Taxes (U.S. Plaintiff or
        8SO Securities/Com-             1S3 Recovery of                                                                                                                        Defendant)
 0      modities/Exchange          O Overpayment of              0 345 Marine Product               0       422 Appeal 28               FORFEITURE/PENALTY• -            0     871 IRS-Third Party 26 use
   890 Other Statutory                  Vet. Benefits              Liability                                use 158                      625 Drug Related                      7609
 D Actions                              160 Stockholders'        O 3SO Motor Vehicle                0     423 Withdrawal 28            0 Seizure of Property 21

 0      891 Agricultural Acts
                                   0    Suits                    O 35S Motor Vehicle                      USC 157                        USC 881
                                                                                                                                       0690 Other
                                                                   Product Liability                    .• CIVIL Rl!3HTS .
                                        190 Other
 D
        893 Environmental
        Matters
                                   0    Contract                 O 360 Other Personal   0
                                                                   injury                                                              0     71 O Fair Labor Standards
 0      89S Freedom of Info.
                                   0    195 Contract
                                                                 O 362 Personal Injury- 0                   441 Voting
                                                                                                                                             Act
                                        Product Liability
                                                                                                                                       O
                                                                 O 36S Personal Injury- 0
        Act                                                        Med Malpratice                           442 Employment                   720 Labor/Mgmt.
 0      896 Arbitration
                                   O 196 Franchise _                                                        443 Housing/                     Relations
                                       REA.I.PROPERTY
                                                                   Product Liability    0                   Accommodations
                                                                                                                                       O 740 Railway Labor Act
                                                                   367 Health Care/                         44S American with
 0      899 Admin. Procedures
        Act/Review of Appeal of
                                   O 210 Land                    0 Pharmaceutical       0                   Disabilities-              0     751 Family and Medical
                                        Condemnation               Personal Injury                          Employment                       Leave Act
        Agency Decision
                                   0    220 Foreclosure               Product Liability                     446 American with          0     790 Other Labor
                                   0                                  368 Asbestos Personal         0       Disabilities-Other               Litigation
 O      9SO Constitutionality of        230 Rent Lease &
                                        Ejectment
                                                                 O    Injury Product Liability                                         0     791 Employee Rel. Inc.
        State Statutes                                                                                                                       Security Act


 FOR OFFICE USE ONLY:                       Case Number:
 CV-71 (06/14)                                                                              CIVIL COVER SHEET                                                                              Page 1of3
                Case 2:14-cv-07518-JFW-MRW Document 1 Filed 09/26/14 Page 25 of 26 Page ID #:31

                                                               UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
                                                                                     CIVIL COVER SHEET

VIII. VENUE: Your answers to the questions below will determine the division of the Court to which this case will be initially assigned. This initial assignment is subject to
change, in accordance with the Court's General Orders, upon review by the Court of your Complaint or Notice of Removal.

Question A: Was this case removed                                                          ·STATE CASE vVAS P~NQIN~ IN ~HE COlJN,-Y .OF;
from state court?
                          D Yes r8J No                                    D Los Angeles, Ventura, Santa Barbara, or San Luis Obispo                                                             Western

If "no," skip to Question B. If "yes," check
the box to the right that applies, enter the
                                                                          D Orange                                                                                                              Southern
corresponding division in response to
Question E, below, and continue from there.                               D Riverside or San Bernardino                                                                                         Eastern


QUESTION B: Is the United States, or                                           8.1. Do 50% or more of the defendants who reside in               YES. Your case will initially be assigned to the Southern Division.
one of its agencies or employees, a                                            the district reside in Orange Co.?                        D       Enter "Southern" in response to Question E, below, and continue
                                                                                                                                                 from there.
PLAINTIFF in this action?
                                                                               check one of the boxes to the right
                                                                                                                                         [;8J    NO. Continue to Question 8.2.
                          [;8J   Yes        D       No
                                                                          B.2. Do 50% or more of the defendants who reside in                    YES. Your case will initially be assigned to the Eastern Division.
If "no," skip to Question C. If "yes," answer
                                                                          the district reside In Riverside and/or San Bernardino
                                                                          Counties? (Consider the two counties together.)
                                                                                                                                         D       Enter "Eastern" in response to Question E, below, and continue
                                                                                                                                                 from there.
Question B.1, at right.
                                                                          check one of the boxes to the right                                    NO. Your case will initially be assigned to the Western Division.
                                                                                                                                         [;8J    Enter "Western" in response to Question E, below, and continue
                                                                                                                                                 from there.



QUESTION C: Is the United         C.1. Do 50% or more of the plaintiffs who reside in the                                                        YES. Your case will initially be assigned to the Southern Division.
States, or one of its agencies or district reside in Orange Co.?                                                                         D Enter "Southern" in response to Question E, below, and continue
                                                                                                                                                 from there.
employees, a DEFENDANT in this
action?                           check one of the boxes to the right

                                                                                                                                         D NO. Continue to Question C.2.
                          D Yes r8J f'Jo
                                                                          C.2. Do 50% or more of the plaintiffs who reside in the                YES. Your case will initially be assigned to the Eastern Division.
If "no, "skip to Question D. If "yes,"
                                                                          district reside in Riverside and/or San Bernardino
                                                                          Counties? (Consider the two counties together.)
                                                                                                                                         D       Enter "Eastern" in response to Question E, below, and continue
                                                                                                                                                 from there.
answer Question C.1, at right.
                                                                          check one of the boxes to the right
                                                                                                                                                 NO. Your case will initially be assigned to the Western Division.
                                                                                                                                         0       Enter "Western" in response to Question E, below, and continue
                                                                                                                                                 from there.

                                                                                                                                      :•:A;                                    a;·                            C;··
                                                                                                                               ·     oia_nge,Count;'o
                                                                                                                                                               .·         Riversideor San          LosA~g~ies; Ventura,•
                                                                                                                                                                    .... BernardJnp cc:l.urty      Santa Barbara; or San
                                                                                                                                                                                                  · LiJis.<:)pisj'.)qCotinty·

Indicate the location(s) in which 50% or more of plaintiffs who reside in this district
reside. Check u to two boxes, or leave blank if none of these choices a I .
                                                                                                                                             D                                 D
Indicate the location(s) in which 50% or more of defendants who reside in this
district reside. (Check up to two boxes, or leave blank if none of these choices                                                             D                                 D
a pl .
                            D.1. Is there at least one answer in Column A?                                                               0.2. Is there at least one answer in Column 8?
                                                            D Yes       [;8J     No                                                                            D Yes IZI No
                                      If "yes," your case will initially be assigned to the                                        If "yes," your case will initially be assigned to the EASTERN DIVISION.
                                                           SOUTHERN DMSION.                                                                     Enter "Eastern" in response to Question E, below.
            Enter "Southern" in response to Question E, below, and continue from there.                                               If "no," your case will be assigned to the WESTERN DIVISION.
                                            If "no," go to question D2 to the right.                 ....                                       Enter "Western" in response to Question E, below.


ot.iesT1c>N E: ..1ri1t1a1 01\f1siol°i?.• ·                                                                                                              INITIALDIVISIOl'fIN Cf.CD •. •····



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            .   . .   ~
                        c~u~ties?
                          .       .         ..   . . ,..        .   .    •..

Do 50% or more of plaintiffs or defendants in this district reside in Ventura, Santa Barbara, or San Luis Obispo counties?                                                                      0Yes

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                                                                                                                                                                                                 www FonnsWorkFlow.com     V:f
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                                            UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
                                                                                 CIVIL COVER SHEET


IX(a). IDENTICAL CASES: Has this action been previously filed in this court?                                                                           ~ NO                 DYES

        If yes, list case number(s):


IX(b). RELATED CASES: Is this case related (as defined below) to any cases previously filed in this court?                                             D NO                 ~YES

         If yes, list case number(s):      2:14-cv-02334-JFW-MRW

        Civil cases are related when they: (1) arise from the same or a closely related transaction, happening, or event; (2) call for determination of
        the same or substantially related or similar questions of law and fact; or (3) for other reasons would entail substantial duplication of labor if
        heard by different judges. That cases may involve the same patent, trademark, or copyright is not, in itself, sufficient to deem cases related.




X. SIGNATURE OF ATTORNEY                                      ~ ~
(OR SELF-REPRESENTED LITIGANT): - - - - - - - - - - - - - - - - - - DATE:                                                                              September 26, 2014

Notice to Counsel/Parties: The submission of this Civil Cover Sheet is required by Local Rule 3-1. This Form CV-71 and the information contained herein
neither replaces nor supplements the filing and service of pleadings or other papers as required by law, except as provided by local rules of court. For
more detailed instructions, see separate instruction sheet (CV-071A).




Key to Statistical codes relating to Social Security Cases:

      Nature of Suit Code        Abbreviation                     Substantive Statement of Cause of Action

                                                   All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended. Also,
        861                         HIA            include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the program. (42
                                                   U.S.C. 1935FF(b))


        862                         BL             All claims for "Black Lung" benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969. (30 U.S.C.
                                                   923)

                                                   All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as amended; plus
        863                         DIWC           all claims filed for child's insurance benefits based on disability. {42 U.S.C. 405 (g))

                                                   All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security Act, as
        863                         DIWW           amended. (42 U.S.C. 405 (g))

                                                   All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security Act, as
        864                         SSID           amended.


        865                         RSI            All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended.
                                                   (42 u.s.c. 405 (g))




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